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                              UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF MISSOURI


In re:   INTERSTATE UNDERGROUND WAREHOUSE                         )
         AND INDUSTRIAL PARK, INC.                                )       Case. No. 21-40834-DRD
                          Debtor.                                 )       Chapter 11
                                                                  )


                                     DEBTOR’S WITNESS LIST

                The Debtor may call the following witnesses at the hearing on Objections to Amended Proof

of Claim of Wayne Reeder now set for July 19, 2022 at 9:00 a.m.:

         1.     Leslie Reeder, CEO of the Debtor

         2.     Amanda Plotner, Employee of the Debtor

         3.     Dennis Speer, Employee of the Debtor

    4. Thomas Fritzlen, Jr., attorney for Defendants in civil action brought by Wayne Reeder against Leslie

Reeder, Sammy Jo Reeder and Stacy Robinson, Case No. 2016-CV12471, now pending in the Circuit Court

of Jackson County, Missouri

         5.     Sammy Jo Reeder, Sole Shareholder of Debtor

         6.     Wayne Reeder, Claimant

         7.     Any witnesses needed for rebuttal

         8.     Any witnesses on any other party’s Witness List

                                                         KRIGEL & KRIGEL, P.C.

                                                         /s/ Erlene W. Krigel
                                                         Erlene W. Krigel, No. 29416
                                                         4520 Main Street, Suite 700
                                                         Kansas City, Missouri 64111
                                                         TEL: 816-756-5800
                                                         FAX: 816-756-1999
                                                         ATTORNEYS FOR DEBTOR
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                                      CERTIFICATE OF SERVICE

        I hereby certify that on this 12th day of July, 2022, a true and correct copy of the above and foregoing
was either mailed via U.S. Mail, postage prepaid, to all parties in interest and creditors listed on the ECF
noticing system.

                                           /s/ Erlene W. Krigel
                                                Erlene W. Krigel
